           3:18-cv-03276-SEM-TSH # 8           Page 1 of 4                                             E-FILED
                                                        Thursday, 20 December, 2018 02:22:46 PM
                              UNITED STATES DISTRICT COURT           Clerk, U.S. District Court, ILCD
                           FOR THE CENTRAL DISTRICT OF ILLINOIS
                                   SPRINGFIELD DIVISION

NANCY STONE,                                         )
         Plaintiff,                                  )
                                                     )
v.                                                   )       Case No. 3:18-cv-003276
                                                     )
T-H PROFESSIONAL & MEDICAL                           )
COLLECTIONS, LTD.,                                   )
           Defendant.                                )


                                RULE 12(b)(6) MOTION TO DISMISS


       NOW COMES the Defendant, T-H PROFESSIONAL & MEDICAL COLLECTIONS, LTD.,

by its attorney, DORIAN B. LASAINE, and for its MOTION TO DISMISS in accordance with Fed. R.

Civ. P. 12(b)(6), hereby moves the Court to enter an order dismissing Count II of the Complaint of

Plaintiff, NANCY STONE; in support thereof, Defendant states to the Court as follows:



      1.      That this Court has jurisdiction of the parties hereto.



      2.      That Fed. R. Civ. P. 12 provides in relevant part:



              “(b) How to Present Defenses. Every defense to a claim for relief in any pleading must

              be asserted in the responsive pleading if one is required. But a party may assert the

              following defenses by motion:

              [...]

                      (6) failure to state a claim upon which relief can be granted;”



      3.      That the Plaintiff, NANCY STONE, filed a Complaint against Defendant in the above

              captioned matter on October 18, 2018, and in its second count alleges “violation(s) of

              the Illinois Consumer Fraud and Deceptive Business Practices Act 815 ILCS 505/10a.”

              See Page 7 of Plaintiff’s Complaint.
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      4.        That to plead adequately a private cause of action for violation of the ICFA, a

                plaintiff must allege: “(1) a deceptive act or practice by the defendant, (2) the

                defendant’s intent that the plaintiff rely on the deception, (3) the occurrence of the

                deception in the course of conduct involving trade or commerce, and (4) actual damage

                to the plaintiff (5) proximately caused by the deception.” Oliveira v. Amoco Oil Co.,

                776 N.E.2d 151, 160 (Ill. 2002); see also DeBouse v. Bayer, 922 N.E.2d 309, 313 (Ill.

                2009). The actual damage element of a private ICFA action requires that the plaintiff

                suffer “actual pecuniary loss.” Kim v. Carter’s Inc., 598 F.3d 362, 365 (7th Cir. 2010)

                (citing Mulligan v. QVC, Inc., 888 N.E.2d 1190, 1197 (Ill. App. Ct. 2008)). Allegations

                of emotional distress, inconvenience, and aggravation do not, by themselves, constitute
                damages under the ICFA. See Morris v. Harvey Cycle & Camper, Inc., 911 N.E.2d

                1049, 1054 (Ill. App. Ct. 2009).



      5.        That nowhere in Count II of Plaintiff’s Complaint does she allege any actual pecuniary

                loss proximately caused by Defendant’s alleged violation of the ICFA. See Pages 7-8 of

                Plaintiff’s Complaint.



      WHEREFORE, Defendant respectfully prays that this Honorable Court grant its Motion to

Dismiss, dismiss Count II with prejudice, and grant any further relief as this Court may deem just and

equitable.


Respectfully submitted,



T-H PROFESSIONAL & MEDICAL COLLECTIONS, LTD.,

Defendant,
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s/ Dorian B. LaSaine
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                                    CERTIFICATE OF SERVICE
I hereby certify that on December 20, 2018, I electronically filed the foregoing Rule 12 Motion
Dismiss, with the Clerk of the Court using the CM/ECF system which will send notification of such
filing to the following:

Counsel for Plaintiff
Kristen C. Wasieleski

and I hereby certify that I have mailed by United States Postal Service the document to the following
non CM/ECF participants:

s/ Dorian B. LaSaine
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